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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :                Chapter 11 Case No.
                                                               :
MOTORS LIQUIDATION COMPANY, et al., :                                           09-50026 (REG)
                f/k/a General Motors Corp., et al. :
                                                               :                (Jointly Administered)
                                    Debtors.                   :
                                                               :
---------------------------------------------------------------x

          DECLARATION OF JANE SULLIVAN OF EPIQ BANKRUPTCY
       SOLUTIONS, LLC REGARDING VOTING ON, AND TABULATION OF,
       BALLOTS ACCEPTING AND REJECTING THE DEBTORS’ AMENDED
    JOINT CHAPTER 11 PLAN, WITH RESPECT TO CLASS 3 DEBT SECURITIES


        Jane Sullivan, being duly sworn, declares, under penalty of perjury:

               1.         I am an Executive Vice President of Epiq Bankruptcy Solutions, LLC

(“Epiq”), located at 757 Third Avenue, 3rd Floor, New York, New York 10017, which was

retained as the Debtors’ debt instruments voting agent.

               2.         I submit this Declaration with respect to the Debtors’ Amended Joint

Chapter 11 Plan, dated December 7, 2010, (as modified and/or amended from time to time, the

“Plan”).1     Except as otherwise indicated, all facts set forth herein are based upon my personal

knowledge or my review of relevant documents. If I were called upon to testify, I could and

would testify competently as to the facts set forth herein.

               3.         The procedures for the solicitation and tabulation of votes with respect to

the Plan are outlined in the Order (I) Approving Notice of Disclosure Statement Hearing; (II)

Approving Disclosure Statement; (III) Establishing a Record Date; (IV) Establishing Notice and


1
         Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Plan
and the Disclosure Statement Order (as defined below).
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Objection Procedures for Confirmation of the Plan; (V) Approving Notice Packages and

Procedures for Distribution Thereof; (VI) Approving the Forms of Ballots and Establishing

Procedures for Voting on the Plan; and (VII) Approving the Forms of Notices to Non-Voting

Classes Under the Plan, dated December 8, 2010 [Docket No. 8043] (the “Disclosure

Statement Order”). Pursuant to the Disclosure Statement Order, Epiq was designated as the

Debtors’ debt instruments voting agent to assist the Debtors with, inter alia, soliciting, receiving,

and tabulating the ballots accepting or rejecting the Plan with respect to the debt securities in

Class 3 General Unsecured Claims (the “Voting Securities”).

             4.        Pursuant to the Disclosure Statement Order, Epiq solicited and tabulated

ballots to vote on the Plan by the holders of Voting Securities.

             5.        As specified in the Disclosure Statement Order, December 7, 2010 (the

“Record Date”) was established as the record date for determining the Holders of Voting Securities

entitled to vote on the Plan.

             6.        In accordance with the Disclosure Statement Order, Epiq solicited the

holders of Voting Securities as of the Record Date. Epiq’s Affidavit of Service of Solicitation

Documents to Holders of Debt Securities was filed with this Court on January 7, 2011, [Docket No.

8449]. Epiq’s Affidavit of Service of Translated Documents on Certain Holders of Debt Securities

was filed with this Court on February 22, 2011, [Docket No. 9327].

             7.        Epiq was instructed to tabulate ballots submitted by holders of Voting

Securities in accordance with the Disclosure Statement Order. I supervised the tabulation process

performed by personnel of Epiq with respect to votes cast by Holders of Voting Securities.

             8.        Ballots returned by mail, hand delivery, or overnight courier were received

by personnel of Epiq at the offices of Epiq in New York, New York. All ballots received by Epiq




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were date-stamped upon receipt and were processed in accordance with the Disclosure Statement

Order.

               9.          For a ballot to be counted as valid, the ballot must have been properly

completed in accordance with the Disclosure Statement Order and executed by the relevant holder,

or such holder’s authorized representative, and must have been received by Epiq by the deadline of

5:00 p.m. Eastern Time on February 11, 2011, (the “Voting Deadline”)2. All validly executed

ballots cast by holders of Voting Securities and received by Epiq on or before the Voting Deadline

were tabulated as outlined in the Disclosure Statement Order.

              10.          I declare that the results of the voting by holders of Voting Securities

received by the February 11, 2011 Voting Deadline are as set forth in Exhibit A hereto, which is

a true and correct copy of the final tabulation of votes cast by timely and properly executed

Ballots received by Epiq3.

              11.          A report of all votes not included in the tabulation prepared by Epiq and

the reasons for exclusion of such votes is attached as Exhibit B hereto.

              12.          The Declaration of Jeffrey S. Stein of The Garden City Group, Inc.

Certifying the Methodology for the Tabulation of Votes On and Results of Voting With Respect to

the Debtors’ Amended Joint Chapter 11 Plan, was filed with this Court on February 24, 2011,

2
  The Debtors extended the voting deadline for holders in Italy to February 22, 2011 (the “Extended Voting
Deadline”), and none of the Ballots received pursuant to the Extended Voting Deadline are included in this
Declaration. A supplemental declaration will be filed with this Court upon completion of the tabulation of Ballots
received in connection with the Extended Voting Deadline.
3
   In accordance with the Order With Respect to (I) Motions of (A) Green Hunt Wedlake, Inc., Trustee of General
Motors Nova Scotia Finance Company, and (B) Certain Noteholders, and (II) Joinders of (A) Morgan Stanley & Co.
International PLC, (B) Certain Noteholders, and (C) Goldman Sachs & Co, Pursuant to Fed. R. Bankr. P. 3018 (A)
for Temporary Allowance of Claims for Purpose of Voting to Accept or Reject Plan, dated February 14, 2011,
[Docket No. 9215] (the “3018 Order”), holders of Nova Scotia Guaranty Claims were not permitted to vote, other
than in accordance with the 3018 Order. Other than the votes in the 3018 Order, no votes with respect to Nova
Scotia Guaranty Claims are included in the tabulation. Notwithstanding that certain votes cast by Nova Scotia
Noteholders (as defined in the 3018 Order) were not submitted by the Nova Scotia Noteholder or not located in the
tabulation records, Epiq included the full amount covered by the 3018 Order, and included in the tabulation 29 votes
to reject the Plan in the amount of $1.072 billion.


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                          MOTORS LIQUIDATION COMPANY, et al.

                                 TABULATION OF BALLOTS:

                                 VOTING SECURITIES ONLY


                          Amount             Amount            Number             Number
                         Accepting           Rejecting         Accepting          Rejecting
                        (% of Amount        (% of Amount      (% of Amount       (% of Amount
                           Voted)              Voted)            Voted)             Voted)

CLASS 3              $16,259,369,870.31   $1,378,248,036.06     84,238              2,861
VOTING SECURITIES         (92.19%)             (7.81%)         (96.72%)            (3.28%)
ONLY
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                                                                       Exhibit B
                                                       MOTORS LIQUIDATION COMPANY, et al.,
                                                           f/k/a General Motors Corp., et al.
                                                                 Ballots Not Tabulated

CUSIP/ISIN   Name of Creditor                                                   Plan Class      Amount Voted      Vote     Reason(s) Not Tabulated
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3             $25,312.50     ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $25,312.50    ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3                $5,062.50   ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $10,125.00    ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $10,125.00    ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $71,786.25    ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $25,312.50    ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3                $2,531.25   ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3                $1,670.63   ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $25,312.50    ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3                $5,062.50   ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3                $2,531.25   ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3                $8,226.56   ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $25,312.50    ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $25,312.50    ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $20,250.00    ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3                $5,062.50   ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3                $5,062.50   ACCEPT    Duplicate Vote
370442121    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $25,312.50    ACCEPT    Duplicate Vote
370442121    BENEFICIAL HOLDER                                                      3              $15,187.50    ACCEPT    Cannot Verify Record Date Position
370442121    BENEFICIAL HOLDER                                                      3              $20,250.00    ACCEPT    Cannot Verify Record Date Position
370442121    BENEFICIAL HOLDER                                                      3              $75,937.50    ACCEPT    Cannot Verify Record Date Position
370442121    MORGAN STANLEY & CO. INCORPORATED                                      3            $5,328,711.56   ACCEPT    Duplicate Vote
370442121    U.S. BANK N.A.                                                         3                $2,531.25   ACCEPT    Duplicate Vote
370442121    U.S. BANK N.A.                                                         3             $498,782.81    ACCEPT    Duplicate Vote
370442691    BENEFICIAL HOLDER                                                      3             $128,456.25    ACCEPT    Cannot Verify Record Date Position
370442691    MERRILL LYNCH, PIERCE FENNER & SMITH                                   3             $104,225.88    ACCEPT    Not a Record Date Holder
370442691    PNC BANK, NATIONAL ASSOCIATION                                         3            $2,770,625.00   ACCEPT    Duplicate Vote
370442691    THE BANK OF NEW YORK MELLON                                            3                $5,037.50 **REJECT** Duplicate Vote
370442717    BENEFICIAL HOLDER                                                      3            $7,677,083.33   ACCEPT    Cannot Verify Record Date Position
370442717    BENEFICIAL HOLDER                                                      3              $12,795.14    ACCEPT    Cannot Verify Record Date Position
370442717    M&I MARSHALL & ILSLEY BANK                                             3              $25,590.28    ACCEPT    Not a Record Date Holder
370442717    NORTHERN TRUST COMPANY, THE                                            3           $20,697,391.08   ACCEPT    Cannot Verify Record Date Position
370442717    THE BANK OF NEW YORK MELLON                                            3              $97,243.06    ACCEPT    Duplicate Vote
370442717    U.S. BANK N.A.                                                         3                $2,431.08   ACCEPT    Duplicate Vote
370442717    U.S. BANK N.A.                                                         3            $2,552,399.90   ACCEPT    Duplicate Vote
370442725    BENEFICIAL HOLDER                                                      3              $25,081.94    ACCEPT    Cannot Verify Record Date Position
370442725    BENEFICIAL HOLDER                                                      3                $6,270.49   ACCEPT    Cannot Verify Record Date Position
370442725    BENEFICIAL HOLDER                                                      3                $6,671.80   ACCEPT    Cannot Verify Record Date Position
370442725    BENEFICIAL HOLDER                                                      3              $10,032.78    ACCEPT    Cannot Verify Record Date Position
370442725    BENEFICIAL HOLDER                                                      3              $40,131.11    ACCEPT    Cannot Verify Record Date Position
370442725    BENEFICIAL HOLDER                                                      3              $50,163.89    ACCEPT    Cannot Verify Record Date Position
370442725    BENEFICIAL HOLDER                                                      3                $4,765.57   ACCEPT    Cannot Verify Record Date Position
370442725    MORGAN STANLEY & CO. INCORPORATED                                      3            $1,342,410.75   ACCEPT    Duplicate Vote
370442725    U.S. BANK N.A.                                                         3             $722,159.34    ACCEPT    Duplicate Vote
370442733    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $26,594.53    ACCEPT    Duplicate Vote
370442733    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $30,393.75    ACCEPT    Duplicate Vote
370442733    BENEFICIAL HOLDER                                                      3            $2,049,627.86   ACCEPT    Cannot Verify Record Date Position
370442733    BENEFICIAL HOLDER                                                      3              $28,088.89    ACCEPT    Cannot Verify Record Date Position
370442733    BENEFICIAL HOLDER                                                      3              $17,501.73    ACCEPT    Cannot Verify Record Date Position
370442733    MORGAN STANLEY & CO. INCORPORATED                                      3            $6,332,031.25   ACCEPT    Duplicate Vote
370442733    MORGAN STANLEY & CO. INCORPORATED                                      3            $3,440,217.91   ACCEPT    Duplicate Vote
370442733    U.S. BANK N.A.                                                         3             $358,418.30    ACCEPT    Duplicate Vote
370442741    BENEFICIAL HOLDER                                                      3              $12,640.62    ACCEPT    Cannot Verify Record Date Position
370442741    BENEFICIAL HOLDER                                                      3              $34,458.34    ACCEPT    Cannot Verify Record Date Position
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $75,241.67    ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $22,572.50    ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3                $5,016.11   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $12,540.28    ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $12,540.28    ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3                $5,016.11   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $25,080.56    ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                   3              $12,540.28    ACCEPT    Duplicate Vote




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                                                                        Exhibit B
                                                        MOTORS LIQUIDATION COMPANY, et al.,
                                                            f/k/a General Motors Corp., et al.
                                                                  Ballots Not Tabulated

CUSIP/ISIN   Name of Creditor                                                    Plan Class      Amount Voted     Vote     Reason(s) Not Tabulated
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3             $40,128.89    ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $37,620.83   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3               $5,016.11   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $45,145.00   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $12,540.28   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $25,080.56   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3               $5,016.11   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $10,032.22   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $12,540.28   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3               $5,016.11   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3               $2,508.06   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3               $5,016.11   ACCEPT    Duplicate Vote
370442758    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $20,064.44   ACCEPT    Duplicate Vote
370442758    BENEFICIAL HOLDER                                                       3               $7,524.17   ACCEPT    Cannot Verify Record Date Position
370442758    BENEFICIAL HOLDER                                                       3              $10,032.22   ACCEPT    Cannot Verify Record Date Position
370442758    BENEFICIAL HOLDER                                                       3              $12,540.28   ACCEPT    Cannot Verify Record Date Position
370442758    BENEFICIAL HOLDER                                                       3              $12,540.28   ACCEPT    Cannot Verify Record Date Position
370442758    INGALLS & SNYDER, L.L.C.                                                3             $290,884.28   ACCEPT    Duplicate Vote
370442758    INGALLS & SNYDER, L.L.C.                                                3               $6,270.14   ACCEPT    Duplicate Vote
370442758    INGALLS & SNYDER, L.L.C.                                                3              $50,161.11   ACCEPT    Duplicate Vote
370442758    U.S. BANK N.A.                                                          3             $673,488.16   ACCEPT    Duplicate Vote
370442766    BENEFICIAL HOLDER                                                       3              $50,614.58   ACCEPT    Cannot Verify Record Date Position
370442766    BENEFICIAL HOLDER                                                       3              $12,653.65   ACCEPT    Cannot Verify Record Date Position
370442766    BENEFICIAL HOLDER                                                       3              $45,553.13   ACCEPT    Cannot Verify Record Date Position
370442766    BENEFICIAL HOLDER                                                       3              $37,960.94   ACCEPT    Cannot Verify Record Date Position
370442766    BENEFICIAL HOLDER                                                       3              $12,653.65   ACCEPT    Cannot Verify Record Date Position
370442766    BENEFICIAL HOLDER                                                       3              $25,307.29   ACCEPT    Cannot Verify Record Date Position
370442766    BROWN BROTHERS HARRIMAN & CO.                                           3              $50,614.58   NO VOTE   No Vote
370442766    MORGAN STANLEY & CO. INCORPORATED                                       3           $5,258,095.99   ACCEPT    Duplicate Vote
370442766    U.S. BANK N.A.                                                          3             $140,582.01   ACCEPT    Duplicate Vote
370442774    BENEFICIAL HOLDER                                                       3              $30,277.92   ACCEPT    Cannot Verify Record Date Position
370442774    U.S. BANK N.A.                                                          3             $947,547.40   ACCEPT    Duplicate Vote
370442816    BENEFICIAL HOLDER                                                       3               $2,523.16   ACCEPT    Cannot Verify Record Date Position
370442816    BENEFICIAL HOLDER                                                       3               $2,523.16   ACCEPT    Cannot Verify Record Date Position
370442816    BENEFICIAL HOLDER                                                       3               $2,523.16   ACCEPT    Cannot Verify Record Date Position
370442816    BENEFICIAL HOLDER                                                       3               $5,046.32   ACCEPT    Cannot Verify Record Date Position
370442816    BENEFICIAL HOLDER                                                       3              $18,923.70   ACCEPT    Cannot Verify Record Date Position
370442816    BENEFICIAL HOLDER                                                       3               $7,569.48   ACCEPT    Cannot Verify Record Date Position
370442816    BENEFICIAL HOLDER                                                       3               $2,523.16   ACCEPT    Cannot Verify Record Date Position
370442816    BENEFICIAL HOLDER                                                       3               $2,523.16   ACCEPT    Cannot Verify Record Date Position
370442816    BENEFICIAL HOLDER                                                       3              $19,882.50   ACCEPT    Cannot Verify Record Date Position
370442816    BENEFICIAL HOLDER                                                       3              $25,231.60   ACCEPT    Cannot Verify Record Date Position
370442816    U.S. BANK N.A.                                                          3           $1,452,557.82   ACCEPT    Duplicate Vote
370442AJ4    AMERIPRISE ENTERPRISE INVESTMENT SERVICES INC./BETA/133                 3           $6,179,000.00   ACCEPT    Not a Record Date Holder
370442AJ4    BENEFICIAL HOLDER                                                       3              $25,000.00   ACCEPT    Cannot Verify Record Date Position
370442AJ4    PERSHING LLC                                                            3             $670,000.00   NO VOTE   No Vote
370442AJ4    RBC CAPITAL MARKETS CORPORATION                                         3              $50,000.00   NO VOTE   No Vote
370442AN5    BENEFICIAL HOLDER                                                       3              $25,000.00   ACCEPT    Cannot Verify Record Date Position
370442AN5    BENEFICIAL HOLDER                                                       3              $25,000.00   ACCEPT    Cannot Verify Record Date Position
370442AN5    NATIONAL FINANCIAL SERVICES LLC                                         3              $75,000.00   NO VOTE   No Vote
370442AN5    U.S. BANK N.A.                                                          3              $26,000.00 **REJECT** Duplicate Vote
370442AN5    WELLS FARGO BANK, NATIONAL ASSOCIATION                                  3           $5,000,000.00   NO VOTE   No Vote
370442AN5    WELLS FARGO BANK, NATIONAL ASSOCIATION                                  3           $5,000,000.00   ACCEPT    Duplicate Vote
370442AR6    BENEFICIAL HOLDER                                                       3             $100,000.00   ACCEPT    Cannot Verify Record Date Position
370442AR6    NATIONAL FINANCIAL SERVICES LLC                                         3              $70,000.00   NO VOTE   No Vote
370442AR6    NORTHERN TRUST COMPANY, THE                                             3              $20,000.00   ACCEPT    Cannot Verify Record Date Position
370442AR6    NORTHERN TRUST COMPANY, THE                                             3             $100,000.00   ACCEPT    Cannot Verify Record Date Position
370442AR6    RAYMOND JAMES & ASSOCIATES, INC                                         3             $106,000.00   NO VOTE   No Vote
370442AR6    U.S. BANK N.A.                                                          3           $1,100,000.00   ACCEPT    Duplicate Vote
370442AR6    U.S. BANK N.A.                                                          3              $30,000.00   ACCEPT    Duplicate Vote
370442AT2    JPMORGAN CHASE BANK/PCS SHARED SERVI                                    3               $7,000.00   ACCEPT    Duplicate Vote
370442AU9    BENEFICIAL HOLDER                                                       3              $25,000.00   ACCEPT    Cannot Verify Record Date Position
370442AU9    CHARLES SCHWAB & CO., INC.                                              3              $15,000.00   NO VOTE   No Vote




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                                                                        Exhibit B
                                                        MOTORS LIQUIDATION COMPANY, et al.,
                                                            f/k/a General Motors Corp., et al.
                                                                  Ballots Not Tabulated

CUSIP/ISIN   Name of Creditor                                                    Plan Class      Amount Voted       Vote    Reason(s) Not Tabulated
370442AU9    EDWARD D. JONES & CO.                                                   3             $50,000.00     NO VOTE   No Vote
             THE BANK OF NEW YORK MELLON/ MELLON TRUST OF NEW ENGLAND,
370442AU9                                                                            3              $50,000.00    ACCEPT    Not a Record Date Holder
             NATIONAL ASSOCIATION
370442AU9    U.S. BANK N.A.                                                          3             $100,000.00    ACCEPT    Duplicate Vote
370442AU9    U.S. BANK N.A.                                                          3             $400,000.00    ACCEPT    Duplicate Vote
370442AV7    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $40,000.00    ACCEPT    Duplicate Vote
370442AV7    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $10,000.00    ACCEPT    Duplicate Vote
370442AV7    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $40,000.00    ACCEPT    Duplicate Vote
370442AV7    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $10,000.00    ACCEPT    Duplicate Vote
370442AV7    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3                $5,000.00   ACCEPT    Duplicate Vote
370442AV7    NATIONAL FINANCIAL SERVICES LLC                                         3             $100,000.00    NO VOTE   No Vote
370442AV7    NORTHERN TRUST COMPANY, THE                                             3              $12,000.00    ACCEPT    Cannot Verify Record Date Position
370442AV7    NORTHERN TRUST COMPANY, THE                                             3             $150,000.00    ACCEPT    Cannot Verify Record Date Position
370442AV7    NORTHERN TRUST COMPANY, THE                                             3                $5,000.00   ACCEPT    Cannot Verify Record Date Position
370442AV7    US BANCORP INVESTMENTS, INC.                                            3              $14,000.00    ACCEPT    Duplicate Vote
370442AZ8    CHARLES SCHWAB & CO., INC.                                              3              $33,000.00    NO VOTE   No Vote
370442AZ8    CREDIT SUISSE SECURITIES (USA) LLC                                      3            $1,682,000.00   NO VOTE   No Vote
370442AZ8    EDWARD D. JONES & CO.                                                   3                $3,000.00   ACCEPT    Duplicate Vote
370442AZ8    JPMORGAN CHASE BANK/PCS SHARED SERVI                                    3                $5,000.00   ACCEPT    Duplicate Vote
370442AZ8    MORGAN STANLEY & CO. INCORPORATED                                       3            $2,201,000.00   ACCEPT    Duplicate Vote
370442BB0    BENEFICIAL HOLDER                                                       3              $10,000.00    ACCEPT    Cannot Verify Record Date Position
370442BB0    BENEFICIAL HOLDER                                                       3                $7,000.00   ACCEPT    Cannot Verify Record Date Position
370442BB0    BENEFICIAL HOLDER                                                       3              $25,000.00    ACCEPT    Cannot Verify Record Date Position
370442BB0    BENEFICIAL HOLDER                                                       3              $16,000.00    ACCEPT    Cannot Verify Record Date Position
370442BB0    BENEFICIAL HOLDER                                                       3              $60,000.00    ACCEPT    Cannot Verify Record Date Position
370442BB0    BENEFICIAL HOLDER                                                       3              $25,000.00    ACCEPT    Cannot Verify Record Date Position
370442BB0    BENEFICIAL HOLDER                                                       3              $47,000.00    ACCEPT    Cannot Verify Record Date Position
370442BB0    BENEFICIAL HOLDER                                                       3              $30,000.00    ACCEPT    Cannot Verify Record Date Position
370442BB0    BENEFICIAL HOLDER                                                       3             $250,000.00    ACCEPT    Cannot Verify Record Date Position
370442BB0    BENEFICIAL HOLDER                                                       3              $15,000.00    ACCEPT    Cannot Verify Record Date Position
370442BB0    BENEFICIAL HOLDER                                                       3              $15,000.00    ACCEPT    Cannot Verify Record Date Position
370442BB0    CITIGROUP GLOBAL MARKETS INC.                                           3              $50,000.00    NO VOTE   No Vote
370442BB0    PERSHING LLC                                                            3             $931,000.00    NO VOTE   No Vote
370442BQ7    CREDIT SUISSE SECURITIES (USA) LLC                                      3             $784,000.00    NO VOTE   No Vote
370442BQ7    U.S. BANK N.A.                                                          3              $30,000.00 **REJECT** Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $10,000.00    ACCEPT    Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $25,000.00    ACCEPT    Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $50,000.00    ACCEPT    Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $15,000.00    ACCEPT    Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $20,000.00    ACCEPT    Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $20,000.00    ACCEPT    Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $25,000.00    ACCEPT    Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $22,000.00    ACCEPT    Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $20,000.00    ACCEPT    Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $25,000.00    ACCEPT    Duplicate Vote
370442BS3    BAIRD (ROBERT W.) & CO. INCORPORATED                                    3              $25,000.00    ACCEPT    Duplicate Vote
370442BS3    BROWN BROTHERS HARRIMAN & CO.                                           3             $347,000.00    NO VOTE   No Vote
370442BS3    TD AMERITRADE CLEARING, INC.                                            3              $50,000.00    NO VOTE   No Vote
370442BS3    TRUST INDUSTRIAL BANK                                                   3              $72,000.00    ACCEPT    Not a Record Date Holder
370442BS3    U.S. BANK N.A.                                                          3              $50,000.00    ACCEPT    Duplicate Vote
370442BS3    U.S. BANK N.A.                                                          3             $250,000.00    ACCEPT    Duplicate Vote
370442BS3    US BANCORP INVESTMENTS, INC.                                            3              $30,000.00    ACCEPT    Duplicate Vote
370442BS3    WELLS FARGO BANK, NATIONAL ASSOCIATION                                  3              $17,000.00    NO VOTE   No Vote
370442BT1    AMERIPRISE ENTERPRISE INVESTMENT SERVICES INC./BETA/133                 3              $90,000.00    NO VOTE   No Vote
370442BT1    BARCLAYS CAPITAL INC./LE                                                3             $100,000.00    NO VOTE   No Vote
370442BT1    BENEFICIAL HOLDER                                                       3            $5,000,000.00   ACCEPT    Cannot Verify Record Date Position
370442BT1    BENEFICIAL HOLDER                                                       3                $8,164.00   ACCEPT    Cannot Verify Record Date Position
370442BT1    BENEFICIAL HOLDER                                                       3              $25,000.00    ACCEPT    Cannot Verify Record Date Position
370442BT1    BENEFICIAL HOLDER                                                       3              $25,000.00    ACCEPT    Cannot Verify Record Date Position
370442BT1    BENEFICIAL HOLDER                                                       3              $40,000.00    ACCEPT    Cannot Verify Record Date Position
370442BT1    BENEFICIAL HOLDER                                                       3            $9,458,000.00   ACCEPT    Cannot Verify Record Date Position
370442BT1    BENEFICIAL HOLDER                                                       3           $41,675,400.00   ACCEPT    Cannot Verify Record Date Position
370442BT1    CITIGROUP GLOBAL MARKETS INC.                                           3             $100,000.00    NO VOTE   No Vote




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                                                                          Exhibit B
                                                          MOTORS LIQUIDATION COMPANY, et al.,
                                                              f/k/a General Motors Corp., et al.
                                                                    Ballots Not Tabulated

 CUSIP/ISIN    Name of Creditor                                                    Plan Class      Amount Voted     Vote      Reason(s) Not Tabulated
 370442BT1     JPMORGAN CHASE BANK/PCS SHARED SERVI                                    3             $52,000.00    ACCEPT     Duplicate Vote
 370442BT1     PERSHING LLC                                                            3             $600,000.00   NO VOTE    No Vote
 370442BT1     PNC BANK, NATIONAL ASSOCIATION                                          3             $405,000.00   ACCEPT     Duplicate Vote
 370442BT1     RIDGE CLEARING & OUTSOURCING SOLUTIONS, INC.                            3             $450,000.00   NO VOTE    No Vote
 370442BT1     STIFEL, NICOLAUS & COMPANY INCORPORATED                                 3              $90,000.00   NO VOTE    No Vote
 370442BT1     U.S. BANK N.A.                                                          3              $75,000.00 **REJECT** Duplicate Vote
 370442BT1     U.S. BANK N.A.                                                          3           $2,500,000.00   ACCEPT     Duplicate Vote
 370442BW4     BENEFICIAL HOLDER                                                       3               $5,000.00   ACCEPT     Cannot Verify Record Date Position
 370442BW4     BENEFICIAL HOLDER                                                       3              $25,000.00   ACCEPT     Cannot Verify Record Date Position
 370442BW4     BENEFICIAL HOLDER                                                       3              $23,000.00   ACCEPT     Cannot Verify Record Date Position
 370442BW4     GOLDMAN, SACHS, & CO                                                    3             $300,000.00   NO VOTE    No Vote
 370442BW4     PERSHING LLC                                                            3             $340,000.00   NO VOTE    No Vote
 370442BW4     PERSHING LLC                                                            3             $300,000.00   NO VOTE    No Vote
 370442BW4     PERSHING LLC                                                            3              $75,000.00   NO VOTE    No Vote
 37045EAS7     INGALLS & SNYDER, L.L.C.                                                3              $50,000.00   ACCEPT     Duplicate Vote
 37045EAS7     INGALLS & SNYDER, L.L.C.                                                3               $3,000.00   ACCEPT     Duplicate Vote
 37045EAS7     THE BANK OF NEW YORK MELLON                                             3           $1,000,000.00   ACCEPT     Cannot Verify Record Date Position
 349272AT1     SOUTHWEST SECURITIES, INC.                                              3             $200,000.00   ACCEPT     Not a Record Date Holder
 616449AA2     BENEFICIAL HOLDER                                                       3              $25,000.00   ACCEPT     Cannot Verify Record Date Position
 616449AA2     NORTHERN TRUST COMPANY, THE                                             3              $10,000.00   ACCEPT     Duplicate Vote
    N/A        BENEFICIAL HOLDER                                                       3                           ACCEPT     Non-European Ballot
    N/A        BENEFICIAL HOLDER                                                       3                           ACCEPT     Non-European Ballot
    N/A        COLLINS STEWART ( CI) LTD                                               3                           ACCEPT     Non-European Ballot
    N/A        JP MORGAN BANK: NORDEA BANK                                             3                           ACCEPT     Non-European Ballot
    N/A        JP MORGAN BANK: NORDEA BANK                                             3                           ACCEPT     Non-European Ballot
    N/A        JP MORGAN BANK: NORDEA BANK                                             3                           ACCEPT     Non-European Ballot
    N/A        NONE PROVIDED                                                           3                                      Supplemental Document
XS0171942757   ANK CAISSE D'ESPARGNE DE PARIS                                          3              $84,540.93   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BANCO SABADELL                                                          3              $81,533.26   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3              $19,628.38   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3              $15,098.75   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3              $19,628.38   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3              $75,493.76   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3               $7,549.38   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3              $21,138.25   ACCEPT     Not Original Ballot
XS0171942757   BENEFICIAL HOLDER                                                       3              $60,395.01   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3               $7,549.38   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3              $21,138.25   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3             $542,800.12 **REJECT** Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3              $57,375.26   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3              $10,569.13   ACCEPT     Cannot Verify Record Date Position
XS0171942757   BENEFICIAL HOLDER                                                       3              $45,296.25   ACCEPT     Cannot Verify Record Date Position
XS0171942757   CASSA LOMBARDA                                                          3             $113,240.64   ACCEPT     Cannot Verify Record Date Position
XS0171942757   CITIBANK LONDON N.A.                                                    3              $15,098.75   ACCEPT     Cannot Verify Record Date Position
XS0171942757   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                    3           $1,509,875.16   ACCEPT     Cannot Verify Record Date Position
XS0171942757   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                    3             $150,987.52   ACCEPT     Cannot Verify Record Date Position
XS0171942757   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                    3             $150,987.52   ACCEPT     Cannot Verify Record Date Position
XS0171942757   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                    3              $55,865.38   ACCEPT     Cannot Verify Record Date Position
XS0171942757   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                    3             $188,734.40   ACCEPT     Cannot Verify Record Date Position
XS0171942757   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                    3              $75,493.76   ACCEPT     Cannot Verify Record Date Position
XS0171942757   DEUTSCHE APOTHEKER- UND ARZTEBANK                                       3                   $0.00   ACCEPT     No Amount
XS0171942757   DEUTSCHE APOTHEKER- UND ARZTEBANK                                       3                   $0.00   ACCEPT     No Amount
XS0171942757   DEUTSCHE BUNDESBANK                                                     3                   $0.00   ACCEPT     No Amount
XS0171942757   DEXIA BIL                                                               3              $12,079.00   NO VOTE    No Vote
XS0171942757   DEXIA BIL                                                               3              $40,766.63   NO VOTE    No Vote
XS0171942757   IBC MIA                                                                 3             $141,928.27   ACCEPT     Cannot Verify Record Date Position
XS0171942757   LANDESBANK BADEN-WURTTEMBERG                                            3               $1,509.88   NO VOTE    No Vote
XS0171942757   MORVAL SIM SPA                                                          3              $83,043.13   ACCEPT     Cannot Verify Record Date Position
XS0171942757   OBISPADO SAN SEBASTIAN                                                  3             $679,443.82   ACCEPT     Cannot Verify Record Date Position
XS0171942757   RAIFFEISEN MEINE BANK                                                   3               $3,019.75   ACCEPT     Duplicate
XS0171942757   RAIFFEISEN REGIONAL BANK MODLING                                        3              $27,177.75   ACCEPT     Cannot Verify Record Date Position
XS0171942757   RAIFFEISENLANDESBANK                                                    3                   $0.00   ACCEPT     No Amount
XS0171942757   SOCIETE GENERALE PRIVATE BANKING                                        3                   $0.00   ACCEPT     No Amount




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                                                                         Exhibit B
                                                         MOTORS LIQUIDATION COMPANY, et al.,
                                                             f/k/a General Motors Corp., et al.
                                                                   Ballots Not Tabulated

 CUSIP/ISIN    Name of Creditor                                                   Plan Class      Amount Voted      Vote     Reason(s) Not Tabulated
XS0171942757   UBS AG                                                                 3             $45,296.25     ACCEPT    Cannot Verify Record Date Position
XS0171942757   UBS SECURITIES LLC                                                     3            $1,962,837.71   ACCEPT    Cannot Verify Record Date Position
XS0171942757   UBS SECURITIES LLC                                                     3             $830,431.34    ACCEPT    Cannot Verify Record Date Position
XS0171943649   AS SEB PANK                                                            3             $452,151.86    ACCEPT    Duplicate
XS0171943649   BANQUE DE LUXEMBOURG                                                   3              $39,186.49    ACCEPT    Duplicate
XS0171943649   BANQUE DE LUXEMBOURG                                                   3             $301,434.58    ACCEPT    Duplicate
XS0171943649   BANQUE ET CAISSE E'EPARGNE DE L'ETAT LUXEMBOURG                        3              $42,200.84    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BANQUE FORTUNA                                                         3             $275,812.64    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BANQUE FORTUNA S.C.                                                    3              $34,664.98    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BANQUE FORTUNA, S.C.                                                   3              $79,880.16    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BANQUE FORTUNA, S.C.                                                   3              $27,129.11    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BANQUE FORTUNA, S.C.                                                   3              $39,186.49    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BANQUE FORTUNA, S.C.                                                   3              $16,578.90    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BANQUE FORTUNA, S.C.                                                   3              $27,129.11    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BANQUE FORTUNA, S.C.                                                   3              $82,894.51    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BEI (EUROPEAN INVESTMENT BANK)                                         3              $30,143.46    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3             $170,310.53    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3                $7,535.86   ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3              $75,358.64    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3              $15,071.73    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3              $22,607.59    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3              $97,966.24 **REJECT** Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3              $46,722.36    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3              $45,215.19    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3                $7,535.86   ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3             $753,586.44    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3                    $0.00   ACCEPT    No Amount
XS0171943649   BENEFICIAL HOLDER                                                      3              $45,215.19    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3             $180,860.75    ACCEPT    No Signature
XS0171943649   BENEFICIAL HOLDER                                                      3             $753,586.44    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3              $36,172.15    ACCEPT    Cannot Verify Record Date Position
XS0171943649   BENEFICIAL HOLDER                                                      3              $15,071.73    ACCEPT    Cannot Verify Record Date Position
XS0171943649   CITIBANK LONDON                                                        3              $55,765.40    ACCEPT    Cannot Verify Record Date Position
XS0171943649   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                   3           $14,544,218.25   ACCEPT    Cannot Verify Record Date Position
XS0171943649   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                   3             $301,434.58    ACCEPT    Cannot Verify Record Date Position
XS0171943649   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                   3             $301,434.58    ACCEPT    Cannot Verify Record Date Position
XS0171943649   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                   3              $75,358.64    ACCEPT    Cannot Verify Record Date Position
XS0171943649   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                   3             $226,075.93    ACCEPT    Cannot Verify Record Date Position
XS0171943649   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                   3             $150,717.29    ACCEPT    Cannot Verify Record Date Position
XS0171943649   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                   3            $1,055,021.01   ACCEPT    Cannot Verify Record Date Position
XS0171943649   COMPAGNIE MONEGASQUE DE BANQUE (CMB)                                   3              $30,143.46    ACCEPT    Cannot Verify Record Date Position
XS0171943649   DEXIA BIL                                                              3              $75,358.64    ACCEPT    Cannot Verify Record Date Position
XS0171943649   DWPBANK                                                                3              $22,607.59    ACCEPT    Duplicate
XS0171943649   FREIE INTERNATIONALE SPARKASSE S.A.                                    3            $3,293,734.91   ACCEPT    Cannot Verify Record Date Position
XS0171943649   GENERALI BANK AG                                                       3              $31,650.63    ACCEPT    Cannot Verify Record Date Position
XS0171943649   GENERALI BANK AG                                                       3              $34,664.98    ACCEPT    Cannot Verify Record Date Position
XS0171943649   LANDESBANK BADEN-WURTTEMBERG                                           3              $45,215.19    NO VOTE   No Vote
XS0171943649   LANDESBANK BADEN-WURTTEMBERG                                           3                $4,521.52   NO VOTE   No Vote
XS0171943649   LANDESBANK BADEN-WURTTEMBERG                                           3              $30,143.46    NO VOTE   No Vote
XS0171943649   MERCK, FINCK & CO.                                                     3              $10,550.21    ACCEPT    Not Original Ballot
XS0171943649   MM WARBURG & CO LUXEMBOURG                                             3             $217,032.89    ACCEPT    Cannot Verify Record Date Position
XS0171943649   SIX SIS                                                                3              $37,679.32    ACCEPT    Duplicate
XS0171943649   SOCIETE GENERALE PRIVATE BANKING                                       3                   $0.00    ACCEPT    No Amount
XS0171943649   WESTERN ASSET MANAGEMENT ON BEHALF OF THE CLIENT                       3            $8,608,971.46   ACCEPT    Cannot Verify Record Date Position
XS0171922643   BANCO BEST                                                             3                $8,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   BANK JULIUS BAR & CO. AG                                               3              $20,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   BANK OF CYPRUS ATHENS GREECE                                           3             $370,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   BANK OF CYPRUS ATHENS GREECE                                           3              $35,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   BNCO BEST                                                              3                $8,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   CITIGROUP GLOBAL MARKET INC                                            3           $21,783,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   CITIGROUP GLOBAL MARKET INC                                            3           $15,000,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                               3                $5,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                               3              $22,000.00    ACCEPT    Superseded by 3018 Order




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                                                                          Exhibit B
                                                          MOTORS LIQUIDATION COMPANY, et al.,
                                                              f/k/a General Motors Corp., et al.
                                                                    Ballots Not Tabulated

 CUSIP/ISIN    Name of Creditor                                                    Plan Class      Amount Voted      Vote     Reason(s) Not Tabulated
XS0171922643   COLLINS STEWART (CI) LTD                                                3              $8,000.00     ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                                3              $20,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                                3                $5,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                                3              $10,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                                3              $15,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                                3              $11,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                                3              $10,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                                3              $10,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                                3              $72,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                                3                $5,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   COLLINS STEWART (CI) LTD                                                3              $14,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   CREDIT SUISSE SECURITIES (EUROPE) LIMITED PRIME BROKERAGE               3            $7,000,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   CREDIT SUISSE SECURITIES (USA)-CUSTODY NEW YORK                         3             $435,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   DEUTSCHE BANK AG LONDON                                                 3           $20,800,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   DEUTSCHE BANK AG LONDON                                                 3            $1,831,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   DEUTSCHE BANK AG LONDON                                                 3           $46,200,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   DEUTSCHE BANK AG LONDON                                                 3             $761,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   DEUTSCHE WERTPAPIER SERVICE BANK AG                                     3                $4,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $4,322,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3           $35,000,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $1,750,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $4,116,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $1,760,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3           $12,861,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $1,029,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3             $246,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $4,000,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $6,281,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $6,561,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $7,341,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $8,799,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3           $15,185,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3           $15,435,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3             $815,000.00 **REJECT**
                                                                                                                   REJECT   Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3            $8,337,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS & CO.                                                     3           $22,413,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS INTERNATIONAL                                             3             $636,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   GOLDMAN SACHS INTERNATIONAL                                             3             $364,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   HSBC BANK PLC                                                           3             $217,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   HSBC TRINKAUS AG                                                        3             $100,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   JP MORGAN CHASE NA                                                      3              $65,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   JP MORGAN CHASE NA                                                      3              $10,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   JP MORGAN CHASE NA                                                      3                $3,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   JP MORGAN CHASE NA                                                      3              $65,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   JP MORGAN CHASE NA                                                      3              $14,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   JP MORGAN SECURITIES LIMITED.                                           3              $41,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   MLI/SFG. LDN                                                            3            $3,500,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   MORGAN STANLEY AND CO INTERNATIONAL PLC.                                3           $22,689,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   RBL EUROPEAN PRIVATE BANKERS                                            3                $9,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   SIX SIS AG                                                              3              $11,000.00    ACCEPT    Superseded by 3018 Order
XS0171922643   THE BANK OF NEW YORK MELLON SA/NV                                       3                $5,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   THE BANK OF NEW YORK MELLON SA/NV                                       3            $5,633,000.00 **REJECT** Superseded by 3018 Order
XS0171922643   THE ROYAL BANK OF SCOTLAND PLC                                          3                $8,000.00   ACCEPT    Superseded by 3018 Order
XS0171922643   UBS AG                                                                  3             $100,000.00    ACCEPT    Superseded by 3018 Order
XS0171908063   AXA INVESTMENT MANAGESUK LTD.                                           3            $1,000,000.00   ACCEPT    Superseded by 3018 Order
XS0171908063   BNP PARIBAS S.A./AGENT: CLEARSTREAM                                     3            $1,325,000.00   ACCEPT    Superseded by 3018 Order
XS0171908063   CITIGROUP GLOBAL MARKET INC.                                            3            $4,806,000.00   ACCEPT    Superseded by 3018 Order
XS0171908063   CREDIT SUISSE SECURITIES (EUROPE) LIMITED PRIME BROKERAGE               3            $3,000,000.00   ACCEPT    Superseded by 3018 Order
XS0171908063   CREDIT SUISSE SECURITIES (EUROPE) LIMITED PRIME BROKERAGE               3             $300,000.00    ACCEPT    Superseded by 3018 Order
XS0171908063   DEUTSCHE WERTPAPIER SERVICE BANK AG                                     3                $7,000.00   ACCEPT    Superseded by 3018 Order
XS0171908063   DEXIA BIL                                                               3              $23,000.00    ACCEPT    Superseded by 3018 Order
XS0171908063   GOLDMAN SACHS & CO.                                                     3            $3,268,000.00 **REJECT** Superseded by 3018 Order
XS0171908063   GOLDMAN SACHS & CO.                                                     3            $4,955,000.00 **REJECT** Superseded by 3018 Order




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                                                                                             Exhibit B
                                                                             MOTORS LIQUIDATION COMPANY, et al.,
                                                                                 f/k/a General Motors Corp., et al.
                                                                                       Ballots Not Tabulated

   CUSIP/ISIN       Name of Creditor                                                                               Plan Class         Amount Voted      Vote    Reason(s) Not Tabulated
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3              $23,538,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3                 $818,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3               $9,182,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3              $70,450,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3               $5,000,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3                  $12,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3              $35,880,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3              $19,847,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3                 $144,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3                   $3,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS & CO.                                                                                3              $18,599,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      GOLDMAN SACHS INTERNATIONAL                                                                        3               $2,000,000.00    ACCEPT       Superseded by 3018 Order
  XS0171908063      JP MORGAN CHASE                                                                                    3                   $3,000.00    ACCEPT       Superseded by 3018 Order
  XS0171908063      JP MORGAN SECURITIES LIMITED.                                                                      3               $7,294,000.00    ACCEPT       Superseded by 3018 Order
  XS0171908063      MERRION STOCKHOLDERS LIMITED                                                                       3                   $7,000.00    ACCEPT       Superseded by 3018 Order
  XS0171908063      MORGAN STANLEY AND CO INTERNATIONAL PLC.                                                           3              $15,405,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      SIX SIS AG                                                                                         3               $4,000,000.00    ACCEPT       Superseded by 3018 Order
  XS0171908063      THE BANK OF NEW YORK MELLON SA/NV                                                                  3               $2,400,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      THE BANK OF NEW YORK MELLON SA/NV                                                                  3               $1,600,000.00 **REJECT** Superseded by 3018 Order
  XS0171908063      UBS                                                                                                3                   $5,000.00    ACCEPT       Superseded by 3018 Order
  XS0171908063      UBS AG LONDON                                                                                      3                 $965,000.00    ACCEPT       Superseded by 3018 Order


NOTE: Epiq received approximately 1,290 beneficial owner ballots that were likely duplicates of votes that were otherwise included in the tabulation. Insufficient information
was included in the ballots to allow them to be included in the chart of ballots not tabulated, although 1,188 of the ballots (92.09%) were voted to accept the Plan; 27 of the ballots
(2.09%) were voted to reject the Plan; and 76 of the ballots (5.89%) were not marked either to accept or reject the Plan.




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                                    Exhibit C
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                           MOTORS LIQUIDATION COMPANY, et al.

                                  TABULATION OF BALLOTS:

                                       COMBINED TALLY


                          Amount             Amount            Number           Number
                         Accepting           Rejecting         Accepting        Rejecting
                        (% of Amount        (% of Amount      (% of Amount     (% of Amount
                           Voted)              Voted)            Voted)           Voted)

CLASS 3              $17,931,509,584.31   $3,096,173,237.17     85,185            2,922
(GENERAL UNSECURED        (85.28%)            (14.72%)         (96.68%)          (3.32%)
CLAIMS)
